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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Northern Division



Vertellus Holdings LLC,                         )
201 North Illinois Street                       )
Indianapolis, Indiana 46204                     )
                                                )
Vertellus Integrated Pyridines LLC,             )
201 North Illinois Street                       )
Indianapolis, Indiana 46204                     )
                                                )
Vertellus LLC,                                  )
201 North Illinois Street                       )
Indianapolis, Indiana 46204                     )
                                                )
Vertellus Specialty Chemicals (Nantong)         )
 Co., Ltd.,                                     )
9 Shengkai Road                                 )
Nantong City, Jiangsu Province, China           )
                                                )
 and                                            )
                                                )
Vertellus Shanghai Trading Co., Ltd.,           )
Suite 2A Lujiazui Finance Plaza,                )
1217 Dongfang Road Pudong,                      )
Shanghai 200120 China                           )
                                                )
Plaintiffs,                                     )   JURY TRIAL DEMANDED
                                                )
                 v.                             )   Civil Action No.
                                                )
W.R. Grace & Co.-Conn.,                         )
7500 Grace Drive                                )
Columbia (Howard County), Maryland 21044        )
                                                )
                                                )
Defendant.                                      )


                                        COMPLAINT

        Plaintiffs Vertellus Holdings LLC, Vertellus Integrated Pyridines LLC, Vertellus LLC,

Vertellus Specialty Chemicals (Nantong) Co., Ltd., and Vertellus Shanghai Trading Co., Ltd.
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(jointly “Vertellus” or “Plaintiffs”), bring this Complaint against Defendant W.R. Grace &

Co.-Conn. (“Grace” or “Defendant”). On April 14, 2017, Vertellus filed substantially the same

claims in the United States District Court for the Southern District of Indiana (Case No.

1:17-cv-01192-TWP-MPB). On September 30, 2018, the Southern District of Indiana dismissed

the action, without prejudice, finding it lacked personal jurisdiction over Grace. Vertellus now

refiles its claims in this District, where Grace maintains its principal place of business, and

alleges as follows:

                              SUMMARY OF THE ALLEGATIONS

                 1.       Vertellus is a manufacturer of specialty chemicals. The chemicals at the

heart of this case are pyridine and picolines. Pyridine and picolines are commodity products,

making the manufacturing cost of critical importance.

                 2.       To contain manufacturing costs and be profitable, Vertellus has invested

millions of dollars and tens of thousands of hours to develop sophisticated and efficient processes

to manufacture these chemicals, including the catalysts used in these processes.

                 3.       Catalysts are substances that allow chemical reactions to occur more

efficiently. Through years of research and testing, Vertellus has developed catalyst formulations

for use in the pyridine and picoline reaction processes that increase pyridine and picoline yield

benefits. Vertellus’s efforts have resulted in a valuable catalyst platform technology, which

includes its catalysts compositions, along with extensive know-how as a result of the years of

research, testing, and optimization. This platform technology serves as the critical foundation for

Vertellus’s past and future catalyst development efforts, allowing it to pick and choose the

components of its catalysts as it sees fit and to continue to optimize and pursue variations of its

formulations.


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                 4.       As a result of its platform technology, Vertellus attained and long

maintained a position as a global leader in the pyridine and picoline chemicals market. Vertellus’s

manufacturing capabilities, however, do not extend to the production of catalysts. Therefore,

Vertellus has relied on Grace to manufacture Vertellus’s proprietary catalysts for Vertellus’s

pyridine and picoline reaction processes.

                 5.       To allow Grace to manufacture catalysts for Vertellus while protecting

Vertellus’s technology, Vertellus insisted that Grace enter into confidentiality agreements that

protect Vertellus’s valuable trade secrets and other confidential information. Vertellus has

communicated trade secrets and confidential information to Grace, including its catalyst

formulations, pursuant to such confidentiality agreements.

                 6.       Instead of honoring its confidentiality obligations, Grace breached its

contractual and other obligations by utilizing Vertellus’s trade secrets for purposes other than

those permitted by the confidentiality agreements. Grace’s research chemist has admitted, under

oath, that he simultaneously worked on a catalyst Vertellus developed to enhance pyridine yield

while “developing” a catalyst with the same components to improve pyridine yield for a Vertellus

competitor.

                 7.       Rather than independently develop such a catalyst, Grace incorporated

Vertellus’s trade secrets and confidential information in the product Grace sold to the competitor.

Grace has sold and continues to sell catalysts it manufactured for Vertellus, using Vertellus’s trade

secrets and confidential information, to Vertellus’s competitors.

                 8.       Making matters worse, Grace sought to and did patent Vertellus’s

proprietary catalyst technology without providing any attribution to Vertellus, claiming Grace’s

chemist was the sole inventor. On March 21, 2017, U.S. Patent No. 9,598,366 (“the ‘366 patent”),


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a patent entitled “Improved Process and Catalyst for the Production of Pyridine and Alkyl

Derivatives Thereof” issued with Grace as the assignee. See Exhibit A.

                 9.       Despite being aware of Vertellus’s claims against it, Grace has continued to

file continuation patent applications, deriving from the same application that resulted in the ‘366

patent, to exploit portions of Vertellus’s technology. On July 26, 2018, a Notice of Allowance was

issued for a second patent, U.S. Application No. 15/435,714.

                 10.      Vertellus was unaware of these activities because Grace hid them from

Vertellus. Grace continued to work with Vertellus on improved catalysts formulations even though

Grace had substantially undermined the value of any improvements by selling Vertellus’s prior

catalyst to competitors and disclosing Vertellus’s platform technology to the world in a patent

application.

                 11.      Prior to Vertellus’s learning about Grace’s misdeeds, Grace also sought to

entice Vertellus to enter into a Joint Development Agreement that would re-define confidential

information, reverse and supersede its prior confidentiality obligations, and strip the existing

protections afforded Vertellus’s trade secrets and know-how. It did so without disclosing that it

had filed multiple patent applications or that its intent was to avoid liability for its prior misdeeds.

                 12.      By its wrongful actions, Grace has used the valuable knowledge it gained

from Vertellus to its own advantage and to Vertellus’s detriment. Grace has injured Vertellus’s

ability to compete in the global pyridine and picoline market and misappropriated Vertellus’s right

to benefit from its research and development efforts.

                 13.      Through its public disclosures, Grace has also robbed Vertellus of a

substantial future competitive advantage to improve upon Vertellus’s platform technology.




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                 14.      Grace’s actions caused Vertellus to incur millions of dollars in losses in

2015 and 2016 and were a significant driver in the necessity for Vertellus to seek bankruptcy

protection in 2016.

                 15.      Because Grace has wrongfully patented Vertellus’s technology, Vertellus

itself is cut off from free exploitation of its own platform technology, which was developed and

optimized over more than a decade.

                 16.      In view of the foregoing, this Complaint seeks full legal and equitable

redress for Grace’s violations of the Defend Trade Secrets Act; the Common Law of the State of

New York, including contract law, unfair competition, and misappropriation of trade secrets and

ideas; and pursuant to the Maryland Uniform Trade Secrets Act and the Indiana Uniform Trade

Secrets Act. Vertellus further seeks a correction of inventorship on Grace’s patents, assignment of

those patents to Vertellus, and assignment of any current and future patent applications that are

traceable back to Vertellus’s trade secrets and confidential information.

                 17.      Vertellus seeks punitive damages and attorneys’ fees in view of Grace’s

malicious deeds and the exceptional nature of this case.

                                              PARTIES

                 18.      Vertellus Holdings LLC is a limited liability company organized and

existing under the laws of the State of Delaware, having its principal place of business at 201 North

Illinois Street, Indianapolis, Indiana 46204.

                 19.      Vertellus Integrated Pyridines LLC is a limited liability company organized

and existing under the laws of the State of Delaware, having its principal place of business at 201

North Illinois Street, Indianapolis, Indiana 46204, and is a wholly-owned subsidiary of Vertellus

Holdings LLC.


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                 20.      Vertellus LLC is a limited liability company organized and existing under

the laws of the State of Delaware, having its principal place of business at 201 North Illinois Street,

Indianapolis, Indiana 46204, and is a wholly-owned subsidiary of Vertellus Holdings LLC.

                 21.      Vertellus Specialty Chemicals (Nantong) Co., Ltd. is a limited liability

company organized under the laws of the People’s Republic of China, with a principal place of

business at 9 Shengkai Road, Nantong City, Jiangsu Province, China. It is a wholly-owned,

indirect subsidiary of Vertellus Holdings LLC.

                 22.      Vertellus (Shanghai) Trading Co., Ltd. is a limited liability company

organized under the laws of the People’s Republic of China, with a principal place of business at

Suite 2A Lujiazui Finance Plaza, 1217 Dongfang Road Pudong, Shanghai 200120 China. It is a

wholly-owned, indirect subsidiary of Vertellus Holdings LLC.

                 23.      Vertellus Holdings LLC and Vertellus LLC received the relevant assets and

intellectual property from Vertellus Specialties Inc. in a purchase out of bankruptcy that closed on

October 31, 2016. For the sake of simplicity, where applicable and as it relates to details occurring

on or before October 31, 2016, “Vertellus” also refers to Vertellus Specialties Inc.

                 24.      More specifically, in 2016, following a bankruptcy proceeding, Vertellus

Specialties Inc. and related entities sold substantially all of their assets.

                 25.      That transaction closed on October 31, 2016. In the purchase of the assets of

Vertellus Specialties Inc. (and related entities) out of bankruptcy, Vertellus Holdings LLC

acquired by assignment all right, title, and interest in the intellectual property rights at issue in this

litigation, including all right, title, and interest to trade secrets and confidential information.

Vertellus LLC acquired by assignment all right, title, and interest in the Confidentiality

Agreements at issue.


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                 26.      Vertellus Holdings LLC also provided an Exclusive License to Vertellus

LLC to the trade secrets and confidential information at issue in this litigation, with limited rights

to grant sublicenses. The remaining Plaintiffs acquired through sublicense from Vertellus LLC

only those rights in the trade secrets and confidential information at issue insofar as necessary for

the operation of their business. Each of the named entities has an interest in the production or sale

of pyridine and/or picolines such that each has been harmed by the actions of Grace identified

above. The interests identified herein were acquired on or about October 31, 2016.

                 27.      Vertellus Integrated Pyridines LLC, Vertellus Specialty Chemicals

(Nantong) Co., Ltd., and Vertellus (Shanghai) Trading Co., Ltd. are each Licensees of the

intellectual property at issue in this litigation.

                 28.      Upon information and belief, W.R. Grace & Co.-Conn. is a corporation

organized and existing under the laws of the State of Connecticut, having a principal place of

business at 7500 Grace Drive, Columbia, Maryland 21044.

                                    JURISDICTION AND VENUE

                 29.      Jurisdiction is proper in this district pursuant to 18 U.S.C. § 1836, as well as

28 U.S.C. § 1331, § 1338, § 1367, and § 2201.

                 30.      Upon information and belief, Grace is a global supplier of products,

including catalysts. Grace develops, manufactures, imports, markets, offers to sell, and/or sells

chemicals throughout the United States.

                 31.      Grace is subject to personal jurisdiction in this Court with its principal place

of business in this district.

                 32.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in this District.

                                       PRIOR PROCEEDINGS
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                 33.      Vertellus first filed this action against Grace on April 14, 2017, thus tolling

the statute of limitations on all counts. On June 7, 2017, Grace filed a motion to dismiss pursuant to

Fed. R. Civ. P. 12(b)(2) and (6).

                 34.      As the case proceeded, the court entered a case management plan and a

stipulated protective order. Vertellus also served discovery requests, which Grace did not answer,

arguing that it could not understand Vertellus’s allegations and therefore could not respond. To

address Grace’s purported inability to respond to Vertellus’s discovery, Vertellus provided

responses to select interrogatories from Grace that, inter alia, identified Vertellus’s trade secrets,

Vertellus’s substantial efforts to protect its trade secrets, and its ownership thereof.

                 35.      Grace did not respond to Vertellus’s discovery requests after receiving

Vertellus’s responses to the interrogatories as Grace had promised. Instead, Grace filed a motion

for a protective order seeking to have the court deny all discovery until Vertellus could

demonstrate a “prima facie” case of theft of trade secrets.

                 36.      On October 6, 2017, the court entered a stay pending a determination on the

motion to dismiss.

                 37.      On September 28, 2018, the court granted the motion to dismiss for lack of

personal jurisdiction and dismissed the action without prejudice.

      BACKGROUND FACTS AND ALLEGATIONS COMMON TO ALL COUNTS

                                 Vertellus and the Pyridine Industry

                 38.      Vertellus is a global manufacturer and supplier of, among other things,

pyridine and picolines, specialty chemicals that are used in a variety of applications, including

agrochemicals. Vertellus has long been a market leader in the research, development, manufacture

and sale of pyridine and picolines and is highly skilled in the manufacture of those chemicals,

including as it relates to the performance of pyridine and picoline reaction processes.
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                 39.      A critical component in the manufacturing process is the catalyst. Catalysts

affect the chemical efficiency of the raw materials and, as a result, can provide a significant

competitive advantage in the variable cost of producing pyridine and picolines. Because the

market for pyridine and picolines is highly price-sensitive, cost effective manufacturing processes

are among the most valuable competitive assets in that space.

                 40.      Vertellus’s efforts to optimize its manufacturing process and catalyst

technology have resulted in a valuable catalyst platform technology. For the most part, Vertellus

has chosen to protect its platform technology as trade secrets rather than seeking patent protection

(which would require public disclosure), believing that protecting its technology as trade secrets

greatly enhanced their value.

                 41.      In view of its proprietary formulations, Vertellus cannot purchase an

“off-the-shelf,” commercially available catalyst. Instead, Vertellus must find a manufacturer with

whom it can work, in confidence, to incorporate Vertellus’s platform technology and manufacture

a catalyst that will meet its specifications. For years, Vertellus relied upon Grace to be that

third-party manufacturer.

                 42.      Grace represented itself as “the ideal partner” for Vertellus, stating that:

“With over 70 years of joint development experience, Grace’s materials science capabilities

supported by our catalytic science expertise and flexible manufacturing facilities make us the ideal

partner to help you develop and commercialize new catalysts.”

               Confidential Relationship of the Parties and Information Disclosed

                 43.      Vertellus entered into Confidentiality Agreements with Grace beginning as

early as 1997, and continuing through the present day. These confidentiality agreements were

entered into between predecessors in interest to the Plaintiffs and Grace. The predecessors in

interest to Plaintiffs were Reilly Industries, Inc. and Vertellus Specialties Inc.
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                 44.      In 2003, Vertellus Specialties Inc. entered into an agreement with Grace

entitled “Confidentiality Agreement,” hereinafter the “2003 Confidentiality Agreement,” to

govern and protect the exchange of confidential information, including derivative information,

between the parties. See Exhibit B.

                 45.      Since 2003, the parties have renewed their confidentiality obligations on at

least three separate occasions. On or about August 2008, Vertellus and Grace began negotiating

the next agreement to protect their ongoing exchange of additional confidential information.

Vertellus and Grace executed this agreement, entitled Confidentiality Agreement, and hereinafter

the “2008 Confidentiality Agreement,” in November 2008. See Exhibit C.

                 46.      The parties renewed the 2008 Confidentiality Agreement in 2011. It has

thus been in effect continuously since 2008. Id. The 2008 Confidentiality Agreement currently

controls the confidentiality of information exchanged between the parties, including derivative

information.

                 47.      Since at least 2008, and under the protections agreed to in the 2008

Confidentiality Agreement, Vertellus has provided Grace with detailed instructions and

information related to its platform of formulations, techniques, and procedures utilized in the

development of customized and suitable catalysts for the manufacture of pyridine and picolines,

and in the performance of the pyridine and picoline reaction processes that, among other things,

will enhance the processes and increase pyridine and picoline yield.1

                 48.      Vertellus has devoted substantial and continuous financial and intellectual

resources to develop a platform technology of improved catalysts for use in pyridine and picoline

1   In verified interrogatory responses served in Case No. 1:17-cv-01192-TWP-MPB dated
September 6, 2017, Vertellus provided Grace an extensive description of the technology Grace
misappropriated. Because those interrogatory responses are designated Attorneys’ Eyes Only
under the protective order in that action, Vertellus has not attached them to this filing.

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manufacturing and reaction processes since well before signing the 2008 Confidentiality

Agreement, and even prior to signing the 2003 Confidentiality Agreement.

                 49.      In addition to having received detailed information with regard to

Vertellus’s improved catalysts as used in the pyridine and picoline manufacturing and reaction

processes, Grace has visited Vertellus’s Indiana locations and observed Vertellus’s confidential

processes for making pyridine and picolines at both the laboratory and commercial scale. Grace

made such visits under a confidentiality obligation and so as to assist Grace in making catalysts

that (1) perform in Vertellus’s pyridine and picoline manufacturing processes, and (2) satisfy the

specifications Vertellus has developed and requires.

                 50.      By way of example, Grace visited Vertellus’s Indianapolis location in

September 2010. During that visit, Vertellus disclosed information about a new catalyst it was

testing. Vertellus informed Grace that Vertellus would supply a recipe for the new catalyst by

mid-October 2010. Grace visited Vertellus’s facilities again shortly after Grace’s chemist joined

the team working on Vertellus’s new catalyst, in October 2011.

                 51.      Since at least 2008, Vertellus has instructed and discussed with Grace the

importance of the specific parameters and ratios of the components used in Vertellus’s specific

catalyst formulations, as well as the continuum of components thereof, and the most efficient

procedures to use to produce Vertellus’s catalysts.

                 52.      As the expert in pyridine and picoline processes, Vertellus’s direction and

guidance with respect to the testing and manufacture of catalysts for use in the pyridine and

picoline processes, particularly the reaction processes, were critical to the development of

Vertellus’s advanced catalysts. Grace could not and would not have independently made catalysts

that provide the benefits that Vertellus’s trade secret and confidential formulations deliver.


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                 53.      Vertellus has consistently protected its intellectual property assets, and in

particular its trade secrets through its corporate structure and ownership and control of the

intellectual property assets, facilities protections, electronic data protection, protection of hard

copy documents and research records, employment agreements, and proprietary nomenclature.

                 54.      To protect its trade secrets, especially its catalyst technology, Vertellus has

undertaken significant steps worldwide, including strictly limiting access to its catalysts and

formulations, the facilities where the pyridine and picoline reactions processes take place, and

disguising all identifying information with regard to Vertellus’s suppliers, including heretofore

even the identity of Grace.

                 55.      Grace was aware of Vertellus’s efforts to protect its trade secrets, including

because Vertellus required Grace to send product to Vertellus’s Indianapolis location so that

Vertellus could relabel it before sending it to international facilities.

                 56.      Both the 2003 and 2008 Confidentiality Agreements call for the application

of New York law.

                                      Grace’s Wrongful Actions

                 57.      By the end of 2010, Vertellus had largely completed development of a

second generation of pyridine and picoline catalyst with which it was satisfied, and had informed

Grace of that fact. Dr. Dorai Ramprasad, a chemist, had just joined Grace’s catalyst group.

                 58.      By late summer 2011, Grace, and specifically Dr. Ramprasad, had begun

assisting Vertellus in the testing of its second generation catalyst. Vertellus provided Dr.

Ramprasad with extensive access to its confidential information.

                 59.      Simultaneously, on or about July 2011, Dr. Ramprasad received the

directive within Grace to “develop performance improvement” related to “pyridine yield” for a


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Vertellus competitor that was purportedly going to switch suppliers unless Grace provided it a

catalyst that enjoyed a higher pyridine yield.

                 60.      With support from others within Grace, Dr. Ramprasad undertook this

project, despite his continuing work on Vertellus’s catalyst.

                 61.      In engaging in this project, Grace not only undertook no efforts to maintain

Vertellus’s confidential information, it selected the same person who was testing the catalyst

already developed by Vertellus, which Grace knew to increase pyridine yield, and directed that

person to provide one of Grace’s customers with a catalyst that would increase pyridine yield.

                 62.      Grace did not erect a barrier between those who were involved in

Vertellus’s project and those involved in a parallel project with a competitor to Vertellus.

                 63.      The resulting product Grace sold to Vertellus’s competitor(s) incorporated

Vertellus’s trade secrets and confidential information and was not materially different from the

one developed by Vertellus.

                                    Grace’s Secret Patent Filings

                 64.      Dr. Ramprasad internally submitted an invention disclosure in February

2012, claiming to have invented something new. His “invention” was based on Vertellus’s trade

secrets, formulations, ideas, and confidential information.

                 65.      Despite being legally obligated to keep Vertellus’s pyridine and picoline

catalysts and manufacturing and reaction processes confidential, Grace also secretly filed a

provisional patent application in the United States Patent and Trademark Office on October 25,

2012. In that application, Grace disclosed trade secrets, formulations, ideas, and information

Vertellus had disclosed to Grace through the parties’ confidential relationship. The title of the

application was “Process for the Production of Pyridine and Alkyl Derivatives Thereof.”


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                 66.      Grace did not inform Vertellus of this filing nor ask for its consent to

disclose Vertellus’s confidential information in this manner.

                 67.      Without Vertellus’s consent or knowledge, Grace then filed a Patent

Cooperation Treaty application (“PCT”), a European Patent Application, and a U.S. utility patent

application. Grace filed the PCT application on October 24, 2013.

                 68.      Without Vertellus’s consent or knowledge, Grace also filed patent

applications in countries around the globe, including in Canada, China, India, Japan, Russia, and

Taiwan.

                 69.      None of these applications discloses Vertellus’s critical input to the

inventions.

                 70.      Many, if not all of, these applications have now published, thereby making

public substantial portions of Vertellus’s trade secret, know-how, and other confidential

information to the world. The U.S. Application published in August 2015 and issued on March 21,

2017 as U.S. Patent No. 9,598,366.

                 71.      On July 26, 2018, a Notice of Allowance issued with regard to another U.S.

Application, No. 15/435714. Thus, upon payment of issuance fees by Grace, a second U.S. Patent

will issue without attribution to Vertellus.

                 72.      On information and belief, Grace has also obtained patents internationally,

including Japanese Patent No. 6322198 and Taiwanese Patent No. TWI598335.

                                        Grace’s Concealment

                 73.      When Vertellus discovered information leading Vertellus to believe that

Grace may have sold or otherwise provided Vertellus catalysts to Vertellus competitors, it raised




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that concern with Grace and reiterated that the platform technology constitutes Vertellus’s

intellectual property.

                 74.      Grace represented, falsely and without disclosing its patent applications,

inter alia that “we have acted in good faith under the provisions of the [Confidentiality

Agreements] that we have had in place with Vertellus, and that catalysts being made and sold to

other customers do not incorporate any Vertellus confidential information.”

                 75.      Indeed, to cover its tracks and protect itself from liability for its misdeeds,

Grace sought to entice Vertellus to enter into a Joint Development Agreement that would re-

define “confidential information,” reverse and supersede its prior confidentiality obligations, and

retroactively strip Vertellus of the protected status of trade secrets. While trying to negotiate this

new arrangement, Grace never mentioned to Vertellus that it had filed patent applications

throughout the world seeking to patent Vertellus’s trade secrets and confidential information and

derivatives thereof or that it viewed the subject matter of the patent technology as belonging to it,

or that it was selling Vertellus’s latest catalyst technology to competitors. Vertellus was left on its

own to discover Grace’s patent filings and Grace’s other wrongdoings.

                                        The Harm to Vertellus

                 76.      Grace has caused Vertellus extraordinary harm by publishing Vertellus’s

trade secret information and by selling catalysts developed by Vertellus to Vertellus’s competitors,

robbing Vertellus of its intellectual capital built up over decades. By disclosing substantial

information to Vertellus’s competitors throughout the world, Grace has destroyed opportunities

for, and the competitive advantages to be gained by, Vertellus’s ongoing use and optimization of

its platform technology.




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                 77.      Grace continued to cause harm by providing Vertellus ongoing assistance in

the development of a third generation catalyst, which was based on technology Grace,

unbeknownst to Vertellus, had already disclosed to the world.

                 78.      In brief, Grace’s actions have caused Vertellus’s competitive advantage in

the global pyridine and derivatives market, built throughout at least the last decade.

                 79.      In the year and a half since Vertellus first filed this action, Vertellus’s harm

has continued to accrue unabated. Not the least of these harms is because Vertellus is purportedly

barred from exploiting fully its own catalyst platform technology in view of Grace’s purported

exclusive patent rights to exclude Vertellus.

                 80.      Vertellus also seeks punitive damages and attorneys’ fees in view of

Grace’s malicious deeds and the exceptional nature of this case.

                                         COUNT I
                          DEFEND TRADE SECRETS ACT VIOLATION
                                   18 U.S.C. § 1832 et seq.

                                            By All Plaintiffs

                 81.      Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 82.      Vertellus owns and possesses substantial trade secrets that it utilizes in its

business. These trade secrets gave Vertellus an advantage over competitors who did not know or

use them. Vertellus derived independent economic value from these trade secrets not being

generally known to or readily ascertainable by others.

                 83.      These trade secrets include, inter alia, catalyst formulations and derivatives,

variations, and improvements of said catalyst formulations, as used in the manufacture of pyridine

and picolines, all of which provided Vertellus with substantial financial advantages over its

competitors. As such, these constitute a platform technology.
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                 84.      Vertellus has taken reasonable measures to protect the secrecy of its trade

secrets, including, without limitation, requiring Grace to sign confidentiality agreements before

allowing Grace access to the trade secret and confidential information, and by strictly limiting any

and all access to Vertellus’s catalyst technology and formulations, both internally and externally.

                 85.      Without permission, Grace wrongfully conveyed Vertellus’s trade secret

information to the general public by filing patent applications around the world disclosing the

trade secrets and omitting Vertellus’s critical contributions to the inventions sought to be patented.

Grace also misappropriated and conveyed Vertellus’s trade secret information to competitors by

selling them catalysts incorporating Vertellus’s trade secrets. Grace knew, based on its dealings

with Vertellus, that Vertellus’s catalysts would be highly advantageous in the competitor’s

pyridine manufacturing process.

                 86.      Grace acted through unlawful means by breaching its duty to maintain the

secrecy of Vertellus’s confidential and trade secret information.

                 87.      Upon information and belief, such conduct continues to the present day.

                 88.      Grace’s actions were and are malicious and willful and have substantially

harmed Vertellus.

                                          COUNT II
                                     UNFAIR COMPETITION

                                          By Vertellus LLC

                 89.      Vertellus re-alleges and incorporates each of the numbered paragraphs of

this Complaint as though fully set forth herein.

                 90.      Unfair competition under New York common law results when one has

misappropriated the results of the labor, skill, and expenditures of another with a degree of bad

faith.

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                 91.      Grace has misappropriated the results of Vertellus’s considerable labor,

skill, and expenditures, in violation of New York common law, and converted to its own use

Vertellus’s substantial labor, skill, and expenditures in developing catalysts that lend a substantial

advantage to Vertellus’s pyridine and picoline reaction processes.

                 92.      Specifically, but for Vertellus’s disclosure of confidential information to

Grace, including research and testing of catalysts, Grace would not have known the value of

Vertellus’s catalyst technology.

                 93.      Grace utilized confidential information from Vertellus regarding its

pyridine and picoline reaction processes and catalysts, gathered by Vertellus over decades, and

exploited this information in its relationships with and sales to Vertellus’s competitors.

                 94.      Grace used Vertellus’s confidential information to file multiple patent

applications in various jurisdictions throughout the world.

                 95.      Grace was obligated inter alia by contract to keep all such information and

derivative information confidential.

                 96.      In so doing, Grace has taken Vertellus’s substantial property rights in its

labor, skill, expenditures, name, and reputation.

                 97.      Grace engaged in this conduct in bad faith. For example, Grace failed to

divulge its patent applications to Vertellus, even after Vertellus questioned Grace’s compliance

with Grace’s confidentiality obligations. In addition, Grace attempted to induce Vertellus to give

up its intellectual property rights by proposing a new agreement to supersede Grace’s prior

confidentiality obligations.

                 98.      Vertellus has been harmed substantially by Grace’s actions, entitling it to

damages and equitable relief.

                 99.      Grace’s actions were wanton and willful, thus justifying punitive damages.
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                                      COUNT III
                          MISAPPROPRIATION OF TRADE SECRETS

                                           By Vertellus LLC

                 100.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 101.     Vertellus possesses substantial trade secrets that are utilized in its business

and give it the opportunity to obtain an advantage in revenue over competitors who do not know or

use them.

                 102.     Vertellus has taken reasonable measures to protect the secrecy of its trade

secrets, including, without limitation, requiring Grace to sign confidentiality agreements before

allowing Grace access to the trade secret and confidential information, and by strictly limiting any

and all access to Vertellus’s catalyst technology and formulations, both internally and externally.

                 103.     These trade secrets include, inter alia, catalyst formulations and derivatives,

variations, and improvements of said catalyst formulations, as used in the manufacture of pyridine

and picolines. As such, these constitute a platform technology.

                 104.     Grace has used and wrongfully disclosed Vertellus’s platform of trade

secret formulations and variations without Vertellus’s consent, in violation of New York common

law, by selling Vertellus’s catalysts and derivatives thereof to Vertellus’s competitors, and by

filing patent applications around the world that contain Vertellus’s trade secret information

omitting Vertellus’s substantial contributions to the inventions as set forth in those applications.

                 105.     Grace’s unlawful conduct as set forth above was in disregard of an express

confidentiality agreement between Grace and Vertellus.

                 106.     Grace’s actions have substantially harmed Vertellus, entitling Vertellus to

damages and equitable relief.

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                 107.     Grace actions were wanton and willful, thus justifying punitive damages.

                                         COUNT IV
                                 MISAPPROPRIATION OF IDEAS

                                          By Vertellus LLC

                 108.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 109.     Vertellus and Grace have entered into confidentiality agreements that

govern the disclosure and use of confidential information.

                 110.     Grace misappropriated Vertellus’s ideas for catalysts, as used in the

pyridine and picoline reaction processes, which Vertellus had developed through substantial effort

and expense and provided to Grace under confidentiality agreements.

                 111.     Vertellus’s ideas were novel and concrete, the source of substantial revenue

to Vertellus, and not otherwise known to its competitors.

                 112.     Grace’s actions have substantially harmed Vertellus, entitling Vertellus to

damages and equitable relief.

                 113.     Grace’s actions were wanton and willful, thus justifying punitive damages.

                                          COUNT V
                                     BREACH OF CONTRACT

                                          By Vertellus LLC

                 114.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 115.     Multiple contracts between Vertellus and Grace required and continue to

require Grace to maintain the confidentiality of Vertellus’s confidential and trade secret

information.



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                 116.     Grace materially breached its contracts with Vertellus by publishing

Vertellus’s trade secrets and confidential information to the world. Grace also breached the

parties’ contracts by utilizing information Vertellus provided to Grace pursuant to the

confidentiality agreements to file a patent application and to solicit competitors of Vertellus as

customers.

                 117.     Vertellus has performed under its contracts with Grace.

                 118.     Grace’s breaches have substantially harmed Vertellus, both in its present

day opportunities and in its future opportunities. Grace’s publication to the world of Vertellus’s

trade secrets, know-how, and other confidential information has substantially obliterated

Vertellus’s present and future revenue opportunities.

                 119.     Based upon the foregoing, Vertellus is entitled to damages and equitable

relief.

                                           COUNT VI
                                CORRECTION OF INVENTORSHIP OF
                                    U.S. PATENT NO. 9,598,366

                                           By All Plaintiffs

                 120.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 121.     Grace is the assignee of record to U.S. Patent No. 9,598,366 (“the ‘366

patent”), entitled Process and Catalyst for the Production of Pyridine and Alkyl Derivatives

Thereof.

                 122.     Dorai Ramprasad, a Grace employee, is the sole inventor named on the face

of the ‘366 patent.

                 123.     Colin McAteer, Ph.D., of Vertellus, has also contributed to one or more

claims of the ‘366 patent. Specifically, over the course of more than a decade, Dr. McAteer and the
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team he directed have developed catalysts to utilize in the pyridine and picoline reaction process,

so as to increase pyridine and picoline yield benefits.

                  124.    Such catalysts, as well as substantial technology related thereto, are

described and explained in the patent specification, and included within one or more issued patent

claims.

                  125.    Dr. McAteer is under an obligation to assign all of his inventions to

Vertellus.

                  126.    The Patent Statute, 35 U.S.C. § 256, provides a cause of action to correct

inventorship.

                  127.    Having contributed to one or more claims of the ‘366 patent, Vertellus is

entitled to a determination that Dr. McAteer is an inventor on the ‘366 patent.

                                        COUNT VII
                           CORRECTION OF INVENTORSHIP OF
                   U.S. PATENT NO. [forthcoming], Application No. 15/435,714

                                           By All Plaintiffs

                  128.    Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                  129.    Grace is the assignee of record to Application No. 15/435,714 (“the ‘714

Application”), entitled Process and Catalyst for the Production of Pyridine and Alkyl Derivatives

Thereof.

                  130.    The Notice of Allowance for this patent was issued on July 26, 2018 and

Grace paid the issue fee on October 22, 2018. No patent number is yet available.

                  131.    Dorai Ramprasad, a Grace employee, is the sole inventor named on the face

of this patent.


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                 132.     Colin McAteer, Ph.D., of Vertellus, has also contributed to one or more

claims of the forthcoming patent issuing from the ‘714 Application. Specifically, over the course

of more than a decade, Dr. McAteer and the team he directed have developed catalysts to utilize in

the pyridine and picoline reaction process, so as to increase pyridine and picoline yield benefits.

                 133.     Such catalysts, as well as substantial technology related thereto, are

described and explained in the patent specification, and included within one or more issued patent

claims.

                 134.     Dr. McAteer is under an obligation to assign all of his inventions to

Vertellus.

                 135.     The Patent Statute, 35 U.S.C. § 256, provides a cause of action to correct

inventorship.

                 136.     Having contributed to one or more claims of the patent issuing from the

‘714 Application, Vertellus is entitled to a determination that Dr. McAteer is an inventor on the

forthcoming patent.

                                          COUNT VIII
                                      UNJUST ENRICHMENT

                                          By Vertellus LLC

                 137.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 138.     Through its employee, Dr. Colin McAteer, and others at Vertellus,

Vertellus provided Grace substantial confidential information and trade secrets that Grace then

utilized and misappropriated by including them in the various patent applications Grace filed

throughout the world (including an application that became United States Patent No. 9,598,366




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and another application, No. 15/435,714, for which a notice of allowance recently issued (Count

VII), and in issued patents Japanese Patent No. 6322198, and Taiwanese Patent No. TWI598335.

                 139.     The parties’ agreements did not contemplate filing these patent

applications, and Grace violated its obligations under the confidentiality agreements by doing so.

                 140.     Had Grace recognized Dr. McAteer as an inventor on the ‘366 patent and

other patents and applications, Vertellus would have had the opportunity to exploit its ownership

interests therein.

                 141.     Grace by its actions deprived Vertellus of that opportunity and instead

elected to exploit Vertellus’s platform technology as its own.

                 142.     Grace retained the benefits and substantial value of Dr. McAteer’s work,

including but not limited to by claiming to be the sole owner of the ‘366 patent and other patents

and applications and by utilizing trade secrets, confidential information, and/or derivative

information, all without compensation to Vertellus.

                 143.     Such use by Grace is unjust and deserving of compensation to Vertellus.

                                          COUNT IX
                                     DECLARATORY RELIEF

                                           By All Plaintiffs

                 144.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 145.     Under the terms of the 2008 Confidentiality Agreement, the parties

acknowledged that money damages would not be a sufficient remedy for breach of the

confidentiality obligations, and thus the disclosing party “shall be entitled to specific performance

and injunctive or other equitable relief as a remedy for any breach.”




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                 146.     Grace’s breach of its confidentiality obligations has caused and continues to

cause Vertellus to suffer irreparable harm that is not remedied by money damages alone, including

through the publication of multiple patent applications disclosing Vertellus’s trade secrets and

obliterating Vertellus’s financial advantage over its competitors.

                 147.     In view of Grace’s violations of its confidentiality obligations, Vertellus is

entitled to have assigned to it all patent applications Grace has filed that incorporate confidential

information and/or trade secrets that Grace obtained from Vertellus. This includes all patent

applications that derive from the common application Grace filed based on Vertellus’s

confidential information, such as U.S. Provisional Application No. 61/718,385, U.S. Application

Nos. 14/437,997 and 15/435,714, U.S. Application and Patent Cooperation Treaty Application

No. PCT/US13/66593, and all patents that have issued or may issue as a result of these

applications, including United States Patent No. 9,598,366 & the forthcoming patent issuing from

the ‘714 Application. Further, Vertellus is entitled to assignment of any future Grace patent

applications that are traceable back to Vertellus’s trade secrets and confidential information.

                                         COUNT X
                                UNIFORM TRADE SECRETS ACT

                                By All Plaintiffs Except Vertellus LLC

                 148.     Vertellus incorporates each of the numbered paragraphs of this Complaint

as if fully set forth herein.

                 149.     Vertellus possesses substantial trade secrets that it utilizes in its business.

These trade secrets derive independent economic value from not being generally known or readily

ascertainable by those who could obtain economic value from their disclosure or use.

                 150.     Vertellus has taken reasonable measures to protect the secrecy of its trade

secrets, including, without limitation, requiring Grace to sign confidentiality agreements before

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allowing Grace access to the trade secret and confidential information, and by strictly limiting any

and all access to Vertellus’s catalyst technology and formulations, internally and externally.

                 151.     These trade secrets include, inter alia, processes for the manufacture of

pyridine and picolines and reactions, catalyst formulations and derivatives, and variations of those

formulations, all of which provided Vertellus with substantial financial advantages over its

competitors.

                 152.     Grace has disclosed and used Vertellus’s trade secrets without Vertellus’s

consent, in violation of the Indiana Uniform Trade Secrets Act, Ind. Code § 34-2-3-1 et seq. and/or

Maryland Uniform Trade Secrets Act, Md. Code. Ann. § 11-1201 et seq. by selling Vertellus’s

catalysts and derivatives thereof to Vertellus’s competitors, and by filing patent applications

around the world that contain trade secret information.

                 153.     At the time of Grace’s disclosure and use, Grace knew or had reason to

know it had acquired or derived the trade secrets under circumstances giving rise to a duty to

maintain their secrecy or limit their use. Indeed, Grace’s unlawful conduct as set forth above was

in disregard of an express agreement of confidentiality between Grace and Vertellus.

                 154.     Upon information and belief, such conduct continues to the present day.

                 155.     Grace’s actions have substantially harmed Vertellus, entitling it to

damages, reasonable royalties, and injunctive relief.

                 156.     Grace’s actions were and are willful and malicious, thus justifying

exemplary damages and attorney’s fees.

                                              PRAYER

                 WHEREFORE, Plaintiffs respectfully pray that this Court enter judgment against

the Defendant:


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                 1.       Permanently enjoining Defendant from making any further use of

Plaintiffs’ trade secrets, know-how, and other confidential information, all of which were

wrongfully taken by Defendant, or utilizing derivative information;

                 2.       Permanently enjoining Defendant from engaging in other acts of unfair

competition against Plaintiffs;

                 3.       Compelling Defendant to return all property wrongfully obtained, including

Plaintiffs’ trade secrets, know-how, and other confidential information;

                 4.       Compelling Defendant to assign all patents and patent applications based on

or derived from Vertellus’s trade secret and confidential information to Vertellus;

                 5.       Awarding past and future damages for the harm caused by Defendant’s

wrongful acts, plus prejudgment and post judgment interest;

                 6.       Awarding punitive damages;

                 7.       Awarding Plaintiffs double damages and attorneys’ fees pursuant to 18

U.S.C. § 1836, for Defendant’s willful and malicious misappropriation of Plaintiff’s trade secrets;

                 8.       Awarding Plaintiffs attorneys’ fees and costs of this action; and

                 9.       Awarding Plaintiffs all other relief as may be just and proper.

                                           JURY DEMAND

        Plaintiffs demand a trial by jury on all issues in this case, insofar as permitted by law.

Dated: October 25, 2018                          Respectfully submitted,


                                                  /s/ Andrew Jay Graham
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